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                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    PAUL SOMERS,                                      Case No.14-cv-05180-EMC
                                                      Plaintiff,
                                   8
                                                                                          ORDER OF REFERENCE
                                                v.
                                   9

                                  10    DIGITAL REALTY TRUST INC, et al.,
                                                      Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          This case has previously been referred to Magistrate Judge Westmore for all discovery

                                  14   purposes. Plaintiff Paul Somers’ motion to strike Defendant’s notice of unavailability appears to

                                  15   be related to a discovery dispute and Judge Westmore’s prior discovery-related orders. See

                                  16   Docket No. 280. It is therefore referred to Judge Westmore for resolution.

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                                  18          IT IS SO ORDERED.

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                                  20   Dated: March 5, 2018

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                                                                                      EDWARD M. CHEN
                                  22                                                  United States District Judge
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